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                         EXHIBIT C
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                                             March 10, 2025



 Via USPS
 Brenda Sue Rush on behalf of Douglas Roark
 15002 East Township Road #88
 Attica, OH 44807


        RE: POTENTIAL PARAQUAT CLAIM
        Client: Douglas Roark
        Case #: 403357



 Dear Brenda,

 Our firm has been trying to contact you regarding your potential claim and has been unsuccessful
 in reaching you and/or we have not received a response from you.

 We are currently unable to continue investigating your potential claim and are trying to contact
 you for additional information, however, we cannot provide adequate representation if we cannot
 get in contact with you.

 In order to keep your case open and prevent closure and/or dismissal, please respond to this
 letter within fourteen (14) days otherwise we may not have any option but to close your case
 and withdraw from representation, if appropriate.



 Sincerely,

 NACHAWATI LAW GROUP




 O: 214.890.0711
 F: 214.890.0712

 5489 Blair Road, Dallas, TX 75231
